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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------- X
                                                             :
   UNITED STATES OF AMERICA,                                 :
                                                             : ORDER
                                                             :
                         - against -                         : 21-cr-371 (BMC)
                                                             :
                                                             :
   AL MALIK ALSHAHHI, et al.,                                :
                                                             :
                                       Defendants.           :
                                                             :
  ---------------------------------------------------------- X

  COGAN, District Judge.

          Barrack’s [306] request to compel the Government to produce additional portions of

  Special Agent Tracee Mergen’s grand jury testimony is denied.

          The Government has already provided defendants with portions of Mergen’s grand jury

  testimony that relate to her background and the statements made by Barrack at his June 2019

  interview with the FBI and DOJ. In doing so, the Government has complied with its obligations

  under 18 U.S.C. § 3500. A review of the full transcript shows that the undisclosed portions of

  Mergen’s testimony do not “relate to the subject matter” of the testimony that the Government

  seeks to elicit from Mergen regarding certain statements made by Barrack at the June 2019

  interview. 18 U.S.C. § 3500(c) (“[T]he court shall excise the portions of such statement which

  do not relate to the subject matter of the testimony of the witness.”). The additional portions of

  Mergen’s testimony primarily concern evidentiary support for allegations in the indictment

  regarding defendants’ conduct in acting as agents of the UAE. These additional portions of

  Mergen’s testimony do not “deal with the specific ‘events and activities testified to on direct

  examination’” because Mergen will not be testifying about the underlying events referenced in
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  the interview or the truth or falsity of Barrack’s statements. United States v. Snyder, 740 F.

  App'x 727, 729 (2d Cir. 2018) (“Statements on the same general subject matter do not ‘relate’

  unless they deal with the specific ‘events and activities testified to on direct examination.’”

  (quoting United States v. Cardillo, 316 F.2d 606, 615 (2d Cir. 1963))). Nor do the additional

  portions of the testimony provide material that could be used to impeach for bias, interest, or

  memory. See United States v. Birnbaum, 337 F.2d 490, 498 (2d Cir. 1964).

         For substantially the same reasons, the Government is not required to disclose the

  additional portions of Mergen’s testimony under Brady v. Maryland, 373 U.S. 83 (1963) or

  Giglio v. United States, 405 U.S. 150 (1972).


  SO ORDERED.



                                                ______________________________________
                                                              U.S.D.J.

  Dated: Brooklyn, New York
         October 12, 2022




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